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United States of America

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C8

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021

CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed is an exact transcript from the Transcript Delivery System for the
account of Burgess Mattox Bey Investment Tr, Business Entity Number XX-XXXXXXX, in
respect to the U.S. Income Tax Return for Estates and Trusts (1041), for the tax year

2016, consisting of two (2) pages

under the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,

on the day and year first above written.

By the direction of the Secretary of the Treasury:

Se tl

Jay Elton
Supervisory Investigative Analyst
Internal Revenue Service-Criminal Investigation

Delegation Order 11-5

GOVERNMENT
EXHIBIT

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ca # € -
ms art ANTS

Form 2866 (Rev. 09-97)

Catalog Number 19002E *U.S. GPO: 1997-417-690/61741

RAM 07/28/2021
USAO-029368
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gi) Internal Revenue Service

“United. States Department of the Treasury

iL This Product Contains Sensitive Taxpayer Data |

Account Transcript

Request Date: 07-23-2021
Response Date: 07-23-2021
Tracking Number: 100950770848 .
FORM NUMBER: 1041
TAX PERIOD: Dec. 31, 2016

TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX

BURGESS MATTOX BEY INVESTMENT TR
ASIM EL BEY TTEE

% BURGESS MATTOX BEY TRUST

925 B PEACHTREE ST NE NO 2160
ATLANTA, GA 30309-3918-257

-—-~ ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ——-

ACCOUNT BALANCE: $0.00
CCRUED INTEREST: $0.00 AS OF: Jul. 12, 2021
ACCRUED PENALTY: $0.00 AS OF:

ACCOUNT BALANCE PLUS ACCRUALS .
. (THIS IS NOT A PAYOFF AMOUNT): $0.00

** INFORMATION FROM THE RETURN OR AS ADJUSTED **
TOTAL INCOME: 0.00
TOTAL DEDUCTIONS: 0.00

FD INC TAX WTHLD: 9.00
TX FICA WGS PD: 0.00
POT FICA TX: 0.00
TOT MDCR WGS: 0.00
MDCR TA: 0.00

RETURN NOT PRESENT FOR THIS ACCOUNT

[__ oO TRANSACTIONS _ - _ |

CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT

a/a No tax return filed
976 Duplicate return filed 11-18-2017 $0.00

n/a 88236-322-00904-7

USAO-029369

971 Amended/duplicate tax return processed to wrong identifying 11-18-20 $0.00
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number or tax period
201612

This Product Contains Sensitive Taxpayer Data

USAO-029370

